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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 13-0222CCC
 1) EUCLIDES HERRERA-DURAN,
 a/k/a “Músico”
 2) MIGUEL AMARO-ESPAILLAT,
 a/k/a “Rubio”
 3) ALEXANDER LAFONTAINE-AGUERA
 Defendants



                                         ORDER

       Having considered the Report and Recommendation filed on October 16, 2013
(docket entry 76) on a Rule 11 proceeding of defendant [3] Alexander Lafontaine-Aguera
before U.S. Magistrate Judge Bruce J. McGiverin on September 24, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since September 24, 2013. The sentencing hearing is set for
December 19, 2013 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on November 4, 2013.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
